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                                                     U.S. Department of Justice

                                                     CHANNING D. PHILLIPS
                                                     Acting United States Attorney

                                                     District of Columbia


                                                     Judiciary Center
                                                     555 Fourth St., N.W.
                                                     Washington, D.C. 20530


                                                  May 4, 2021
VIA EMAIL

Lawrence Wolf Levin
Law Office of Lawrence Wolf Levin


       Re:    United States v. Lyons
              Case No. 21-cr-79-BAH

Dear Mr. Levin:

      This is to memorialize the following preliminary discovery sent you via email
on May 4, 2021 via USAFX which contained the following materials:

 Serial 1                 Case Initiation
 Serial 2                 Report of interview of K. Lyons
 Serial 2_1A_01-05        Photographs Speaker of the House, group screen shot, interview
                          notes, K. Lyons 1 image, and K. Lyons 2 image
 Serial 3                 K. Lyons Youtube video links
 Serial 3_1A_02-1 and     Youtube videos
 03-1
 Serial 4 and 1A_01       Report documenting thumb drive discovery and five photographs of
 through 05               thumb drive
 Serial 5 and 1A 02_01    Arrest warrant, complaint, statement of facts, arrest warrant, and
 through 02_04            complaint redacted
 Serial 6 and 1A_03_01    Arrest Log (1/13/2021), Lyons DNA, Lyons BOP, Lyons USMS,
 through 03_04            and Lyons_processing forms
 Serial 7                 Removal of warrant
 Serial 8, 1A_013_01      Arrest of Lyons, statement of facts, complaint, arrest warrant,
 through _04, and         complaint redacted and BOP memo
 1A_014_01
 Serial 9                 Warrants for person, cars, and house
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 Serial 11, 1A_07_01,       Search warrant report, casebook, FD-597, sketch, Ford photo log,
 08_01, 09_01,              photo log, and Chevy photo log
 1A_012_01 through
 012_03
 Serial 12 and 13           Lists of seized items
 Serial 14                  File System Extraction
 Serial 15                  Hard Drive of Cell Phones
 Serial 16 and              Cell Phone extraction analysis (Samsung) and seized information
 1A_06_01
 Serial 17_1A_ 08_03        Social media video
 Serial 19 and              Criminal history records;
 1A_10_01
 Serial 21 and              Records check on defendant, including addresses associated
 21_Import
 (SENSITIVE):
 Serial 22_1A_0615_01       Images and screenshots related to K. Lyons on social media
 through 07, 0615_09,
 0615_010, and
 0615_012
 (SENSITIVE) through
 0615_018
 Serial 23                  Notes entered
 Serial 24                  Serials 1-22
 Serial 25                  Derivative Evidence
 Serial 27 and              Form letter for entering warrant, arrest warrant. Complaint,
 1A_04_01 through           complaint redacted and statement of facts
 04_04                      Video Clips 20210106_141309.mp4 and 20210106_140937.mp4
                            from Lyons’ phone

         Due to the extraordinary nature of the January 6, 2021 Capitol Attack, the government
anticipates that a large volume of materials may contain information relevant to this prosecution.
These materials may include, but are not limited to, surveillance video, statements of similarly
situated defendants, forensic searches of electronic devices and social media accounts of similarly
situated defendants, and citizen tips. The government is working to develop a system that will
facilitate access to these materials. In the meantime, please let me know if there are any categories
of information that you believe are particularly relevant to your client.

       The discovery is unencrypted. Please contact me if you have any issues accessing the
information, and to confer regarding pretrial discovery as provided in Fed. R. Crim. P. 16.1.

       This material is subject to the terms of the Protective Order issued in this case.

       I recognize the government’s discovery obligations under Brady v. Maryland, 373 U.S. 83
(1963), its progeny, and Rule 16. I will provide timely disclosure if any such material comes to
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light. Consistent with Giglio, Ruiz, and 18 U.S.C. § 3500, I will provide information about
government witnesses prior to trial and in compliance with the court’s trial management order.

        I request reciprocal discovery to the fullest extent provided by Rule 16 of the Federal Rules
of Criminal Procedure, including results or reports of any physical or mental examinations, or
scientific tests or experiments, and any expert witness summaries. I also request that defendant(s)
disclose prior statements of any witnesses defendant(s) intends to call to testify at any hearing or
trial. See Fed. R. Crim. P. 26.2; United States v. Nobles, 422 U.S. 255 (1975). I request that such
material be provided on the same basis upon which the government will provide defendant(s) with
materials relating to government witnesses.

        Additionally, pursuant to Federal Rules of Criminal Procedure 12.1, 12.2, and 12.3, I
request that defendant(s) provide the government with the appropriate written notice if
defendant(s) plans to use one of the defenses referenced in those rules. Please provide any notice
within the time period required by the Rules or allowed by the Court for the filing of any pretrial
motions.

        I will forward additional discovery as it becomes available. If you have any questions,
please feel free to contact me.

                                                      Sincerely,

                                                      /s/ Monica A. Stump
                                                      Monica A. Stump
                                                      Assistant United States Attorney



Enclosure(s)




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